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                            United States District Court for the
                             Eastern District of Pennsylvania

                                                              ---x

C. SCOTT HISEY, STEPHAN AND CAROL GAMMARINO,:
CHUCK UPLINGER, DAVID CRASTNOPOL,
 JOE AND CINDY STEIN,                                                CIVIL ACTION
JOHN AND MARIANNE HARKINS,                                           NO. 2:1 1-cv-02604-EL
DEAN AND LISA KNAUSS,
JOHN AND TRACY MCNALLY,
SALVATORE FIORE, KEN GAWASON,                                        JURY TRIAL DEMANDED
STEPHEN HUESSER, JOHN ROSHELLI, GERALD
NAVE, CRAIG AND CINDY VEVERKA,
DEAN AND CHRISTA VAGNOZZI,
TIMOTHY AND BARBARA CURRAN, and
MICHAEL AND KATRINA KILGALLON

                              Plaintiffs,

                      V.


NOVA FINANCIAL HOLDINGS, INC., BRIAN M.
HARTLINE, BALLAMOR CAPITAL MANAGEMENT,
BARRY R. BEKKEDAM, and THE KEYSTONE EQUITIES
GROUP
                     Defendants.


                              FIRST AMENDED COMPLAINT


        Plaintiffs C. Scott Hisey, Stephan & Carol Gammarino, Chuck Uplinger, David

Crastnopol, Joe and Cindy Stein, John and Marianne Harkins, Dean and Lisa Knauss, John and

Tracy McNally, Salvatore Fiore, Ken Gawson, Stephen Huesser, John Roshelli, Gerald Nave,

Craig and Cindy Veverka, Dean and Christa Vagnozzi, Timothy and Barbara Curran, and

Michael and Katrina Kilgallon (collectively "Investors"), by and through their undersigned

counsel, hereby file this First Amended Complaint against Defendants NOVA Financial




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Holdings, Inc. ("NOVA"), Brian M. Hartline, Ballamor Capital Management ("Ballamor"),

Barry R. Bekkedam and The Keystone Equities Group ("Keystone"), and allege as follows:

                                           PARTIES

         1.   Plaintiff C. Scott Hisey is an adult individual residing at 818 Hidden Forest Dr.,

Collegeville, PA 19426-1243.

        2.    Plaintiffs Stephen and Carol Gammarino are adult individuals residing at 270

Lincoln Road, King of Prussia, PA 19406.

        3.    Plaintiff Chuck Uplinger is an adult individual residing at 320 Constance Drive,

P.O. Box 2024, Warminster, PA 18974.

        4.    Plaintiff David Crastnopol is an adult individual residing at 3850 Ruckman Way,

Doylestown, PA 18902.

        5.    Plaintiffs Joe and Cindy Stein are adult individuals residing at 158 Bayberry

Drive, Limerick, PA 19468.

        6.    Plaintiffs John and Marianne Harkins are adult individuals residing at 222

Larrimore Lane, Erdenheim, PA 19038.

        7.    Plaintiffs Dean and Lisa Knauss are adult individuals residing at 1802 Raptor

Drive, Audubon, PA 19403.

        8.    Plaintiffs John and Tracy McNally are adult individuals residing at 1001 Redtail

Road, Audubon, PA 19403.

        9.    Plaintiff Salvatore Fiore is an adult individual residing at 1010 Hunter Lane,

Swarthmore, PA 19081.

        10.   Plaintiff Ken Gawson is an adult individual residing at 27 Imperial Court,

Monroe, NJ 08831-2163.



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         11.   Plaintiff Stephen Huesser is an adult individual residing at 12 Horseshoe Lane,

Mullica Hill, NJ 08062.

         12.   Plaintiff John Roshelli is an adult individual residing at 1834 Morgan Lane,

Collegeville, PA 19426.

         13.   Plaintiff Gerald Nave is an adult individual residing at 2808 Breckenridge Blvd.,

Norristown, PA 19403.

         14.   Plaintiffs Craig and Cindy Veverka are adult individuals residing at 3911 Landis

Road, Collegeville, PA 19426.

         15.   Plaintiffs Dean and Christa Vagnozzi are adult individuals residing at 114 Ithan

Lane, Collegeville, PA 19426.

         16.   Plaintiffs Timothy and Barbara Curran are adult individuals residing at 504

Tawnberry Lane, Collegville, PA 19426.

         17.   Plaintiffs Michael and Katrina Kilgallon are adult individuals residing at 13 Deep

Pond Drive, Spring City, PA 19475.

         18.   Defendant NOVA is a Pennsylvania corporation and a registered bank holding

company, having its principal place of business at 1235 Westlakes Drive, Suite 420, Berwyn, PA

19312. NOVA acted as issuer of its common stock through a series of private placement

memorandums in 2008 - 2009.

         19.   Defendant Keystone is a Pennsylvania Corporation and a registered NASD

broker-dealer, having its principal place of business at 1003 B Egypt Road, Oaks, PA 19456-

1155. Keystone acted as placement agent for NOVA.




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        20.      Defendant Ballamor is a Pennsylvania Corporation and a registered investment

advisor, having its principal place of business at 24 Louella Ct, Suite 100, Wayne, PA 19087.

Ballamor acted as a stock promoter on behalf of NOVA in 2008 — 2009.

        21.      Defendant Barry R. Bekkedam is an adult individual residing at 7320 SE Medalist

Pl., Hobe Sound, FL 33455. Bekkedam was the former Chairman of the Board of NOVA and

the Founder, Chairman and Chief Executive Officer of Ballamor. Bekkedam acted as a stock

promoter on behalf of NOVA in 2008-2009.

        22.      Defendant Brian M. Hartline is an adult individual and the President and CEO of

NOVA, residing at 36 Windward Court, Collegeville, PA 19426. Hartline acted as a stock

promoter on behalf of NOVA in 2008-2009.

                                   JURISDICTION AND VENUE

        23.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, and under

15 U.S.C. § 77a et. s., (Securities Act of 1933) and 15 U.S.C. § 78a et. sec .. (Securities

Exchange Act of 1934), as amended.

        24.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), because a

substantial part of the events or omissions giving rise to the claims herein occurred in this

judicial district.

                     CONDITIONAL PURCHASE OF NOVA COMMON STOCK

         25.     In 2008, NOVA employed Keystone as the exclusive placement agent to raise

capital for NOVA from members of the public through the sale of shares of NOVA's common

stock in blocks of 5,000 shares at $11 per share pursuant to Rule 501 of Regulation D

promulgated under the Securities Act of 1933.




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        26.    Keystone, Ballamor, NOVA's President, Hartline, and NOVA's former

Chairman, Bekkedam, all acted as NOVA's stock promoters to sell NOVA's common stock.

        27.    The Investors were customers of Delaware Valley Financial Group ("DVFG"),

who were referred by DVFG to NOVA as potential investors in NOVA.

        28.    Hartline and Bekkedam personally solicited all the Investors to purchase common

stock in NOVA during a series of meetings, lunches and dinners that took place in 2008 and

2009.

        29.    Hartline and NOVA usually acted in tandem and gave each of the Investors the

impression that they jointly spoke for NOVA.

        30.    Bekkedam and Hartline told the Investors on many occasions in 2008 and 2009

that NOVA wanted to use $2.8 million of the capital to be raised as part of the offering for

NOVA's proposed merger with DVFG.

        31.    DVFG is an insurance and wealth management company located in

Conshohocken, PA.

        32.    The Investors were all customers of DVFG who were familiar with DVFG and

who sought to invest in DVFG through NOVA.

        33.    Cognizant that all the Investors were interested in investing in DVFG, Hartline

and Bekkedam assured each investor before any of the Investors executed a subscription

agreement with NOVA that their investments would be contingent on the DVFG merger closing.

        34.    In 2008 and 2009, each investor executed a subscription agreement with NOVA

and provided funds to Keystone ranging from $55,000 to $350,000, each based on

representations by Hartline and Bekkedam that their investment was conditioned upon the

closing of the proposed merger between NOVA and DVFG.



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         35.    The statements of Hartline and Bekkedam were material inducements to each

Investors' decision to invest.

        36.    None of the Investors would have purchased shares in NOVA without the

investment being conditioned upon the closing of the merger with DVFG.

                   EXPRESS TERMS OF THE SUBSCRIPTION AGREEMENTS

        37.     Keystone was required to deposit the Investors' subscription payments in an

escrow account maintained at NOVA Bank.

        38.    The subscription agreements referred to the escrow account as the "Keystone-

NOVA Financial Escrow", which was to be controlled by Keystone.

        39.    The subscription agreements executed by the Investors and the private placement

memorandum referenced therein ("Offering Materials") provided that the offering terminated on

August 29, 2008.

        40.    The subscription agreements expressly provided that any subscriptions received

after the termination date of August 29, 2008 or received and not accepted prior to August 29,

2008 would be returned in full to the Investors.

        41.    The subscription agreements also provided that the closing for the subscriptions

could not take place later than five (5) business days after the end of the offering period of

August 29, 2008.

        42.    None of the Investors' subscriptions were accepted and/or closed within five (5)

business days from the expiration of the offering period.

        43.    Keystone and NOVA failed to return the Investors' funds as required by the clear

terms of the subscription agreements.

        44.    Keystone and NOVA did not terminate the offering.


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        45.    The Offering Materials permitted NOVA to extend the offering period by one or

more 30-day periods after August 29, 2008. However, the subscription agreements stated that no

provisions in the agreements shall be "waived, modified, discharged or terminated except by an

instrument in writing signed by the party against whom any waiver, modification, discharge or

termination is sought."

        46.    Neither NOVA nor Keystone ever sent notice to the Investors that the offering

period of August 29, 2008 was being extended.

        47.    Neither NOVA nor Keystone ever sent amendments and/or updates of the

Offering Materials to the Investors.

        48.    Neither NOVA nor Keystone ever sent reconfirmation offers to any of the

Investors.

        49.    None of the Investors executed any writing agreeing to the extension of the

August 29, 2008 offering period.

        50.    The subscription agreements further provided that any subscriptions received but

not accepted by NOVA prior August 29, 2008, or received by NOVA after August 29, 2008

would be rejected by NOVA.

        51.    None of the Investors' subscriptions were accepted by NOVA by August 29,

2008, and thus, all of the subscriptions were necessarily rejected under the express terms of the

subscription agreements prepared by NOVA and Keystone.

        52.    In fact, NOVA did not close on the Investors' purchase of Shares and stock

certificates were not issued until in or after September of 2009, which was not permitted under

the express terms of the subscription agreements.




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               REASON FOR THE DELAY IN CLOSING NOVA/DVFG MERGER

         53.     In 2008 and early 2009, the Investors made periodic inquiries as to the status of

the NOVA/DVFG merger, and were advised that the merger was not yet approved, but their

money was safe in an interest bearing escrow account.

         54.     In early 2009, some of the Investors demanded confirmation of the oral

assurances Hartline and Bekkedam made since each investor signed a subscription agreement

and was tendered a private placement memorandum which did not contain the key condition the

Investors relied on. The subscription agreements also falsely stated that the Investors had not

relied on any representation outside the private placement memorandums. All defendants knew

from the beginning that the integration clause and other similar clauses in the private placement

memorandums were not true.

         55.     For instance, the proposed NOVA/DVFG merger was referenced on page 13 of

the May 29, 2008, Private Placement Memorandum titled "Contingencies", and stated:

                 We have entered into a non-binding letter of intent to purchase
                 DVFG Inc. ("DVFG"), and continue to undertake due diligence on
                 the company. We have not executed a definitive agreement to
                 acquire DVFG, and there is no guarantee that we will do so.
                 Moreover, if we do execute a definitive purchase agreement to
                 acquire DVFG, there is no guarantee that we will be able to
                 complete the acquisition in a timely fashion, or on terms as
                 favorable to the Company as currently contemplated, if at all. We
                 tentatively expect to use a combination of cash and common shares
                 as consideration in the DVFG Acquisition, including a maximum
                 of $2.8 million of cash consideration.
This statement was false and was always known to be false by all defendants. In fact, all the

Investors' investments were always known by all defendants to be explicitly conditioned on the

closing of the NOVA/DVFG merger.

        56.      Consequently, on or about April 17, 2009, to put the minds of the Investors at

ease and to correct inaccuracies in the offering materials, Hartline, on behalf of NOVA, sent a

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letter to the Investors in which he reconfirmed what Hartline and Bekkedam promised earlier:

Each investment was contingent upon the closing of the DVFG merger.

           57.   The title of Hartline's letter, attached hereto as Exhibit "A", is "NOVA Financial

Holdings, Inc. (NOVA) and Delaware Valley Financial Group Inc. (DVFG) merger progress

report."

           58.   In the letter, Hartline advised the Investors that NOVA "signed a Definitive

Agreement on March 6, 2009, in which NOVA will acquire DVFG and DVFG will become an

insurance and brokerage arm of NOVA."

           59.   Hartline further advised that "[i]n accordance with the subscription Agreement

signed by you as an investor, any funds delivered to NOVA in connection with your potential

share purchase are being and will continue to be held in an interest bearing escrow account

earning 1.0% until our merger closes."

           60.   Hartline's letter clearly and unambiguously states that the Investors' money

would be returned unless the merger of NOVA and DVFG closed.

           61.   Thus, under the terms of the investment as clarified by Hartline's letter, NOVA

could not gain access to the Investors' subscriptions being held in escrow — over $1,000,000 —

until the merger with DVFG closed. By September, 2009, the DVFG merger still had not closed.

                      RELEASE OF MONEY FROM ESCROW DESPITE
                        NOVA'S FAILURE TO MERGE WITH DVFG

          62.    In need of money, but still unable to finalize the merger with DVFG, NOVA was

determined to eliminate the condition that the money be kept in escrow until the DVFG merger

closed.

          63.    Hartline and Bekkedam called for another meeting with the Investors. Hartline

and Bekkedam appeared at the meeting held at DVFG's office in Conshohocken, PA on


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September 21, 2009 in order to convince the Investors to allow NOVA to use the funds being

held in escrow, despite the fact that the merger between NOVA and DVFG was not yet closed.

        64.      At the meeting, Bekkedam bragged that he previously raised over $40 million for

NOVA and had access literally to billions of dollars in more capital personally or through his

numerous friends and customers in the ultra high net worth world. He said he personally would

make sure that each investor received back their money with interest if the DVFG/NOVA merger

did not close.

        65.      Hartline attended the meeting with Bekkedam and was present when Bekkedam

made his representations on behalf of NOVA.

        66.      After the meeting, Bekkedam wrote a letter to the Investors, dated September 24,

2009, attached hereto as Exhibit "B", re-stating portions of his promise made during the

September 21, 2009 meeting:

                 Should the closing with DVFG not occur prior to 3/31/10, we will
                 commit to seeking Investors who will replace your capital should
                 you not want to remain an investor. Given the capital already
                 invested and committed via Ballamor clients and relationships and
                 the bank's "well capitalized" financial condition, we do not
                 anticipate this being a problem.

        67.      Bekkedam's oral statements made at the meeting on September 21, 2009, and his

letter of September 24, 2009, were material mis-statements intended to induce the Investors to

authorize the release of their money from escrow to NOVA.

        68.      The Investors believed that Bekkedam was a director or "owner" of NOVA and

was acting at the direction of NOVA when Bekkedam agreed to return their money if the

DVFG/NOVA merger did not close by March 31, 2010.




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         69.    All defendants knew the Investors would not agree to release the funds from

escrow without the completion of the DVFG/NOVA merger or assurances that their shares

would be repurchased if the merger was not completed.

         70.    NOVA obtained over $1 million in capital as a result of Bekkedam, its former

Chairman and prolific stock promoter, agreeing to buy back the Investors' shares after March 31,

2010 if the DVFG/NOVA merger did not close.

         71.    Upon information and belief, the Investors' money was released from escrow to

NOVA sometime after September 24, 2009.

         72.    The Investors were issued stock certificates sometime in November, 2009.

         73.    The DVFG merger with NOVA never closed.

         74.    Bekkedam's financial and business circumstances took a severe reversal after he

made his promise to buy back the NOVA stock from the Investors when it came to light that

Bekkedam recommended investing in a ponzi scheme in Florida to many of his customers.

        75.     Bekkedam soon closed Ballamor, attempted to sell his customer list to a third

party, and moved to Florida.

               THE INVESTORS TRIED UNSUCCESSFULLY TO GET NOVA,
               BALLAMOR AND BEKKEDAM TO HONOR THEIR PROMISES

        76.     In early 2010, the Investors made inquiry of Bekkedam and confronted he and

Hartline in a meeting about Bekkedam's promise to purchase back their shares.

        77.     Bekkedam refused to repurchase the Investors' shares.

        78.     Throughout 2010, the Investors made repeated demands upon NOVA through

Hartline to repurchase the shares and those demands were likewise refused.




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         79.    However, NOVA through Hartline made repeated representations to Plaintiffs

throughout 2010, including at a meeting on December 1, 2010 at the offices of DVFG, that it was

in the process of trying to raise a significant amount of new capital.

         80.    NOVA through Hartline lulled Plaintiffs into a false sense of security by

representing that if these fund raising efforts were successful then it would consider repurchasing

Plaintiffs' shares.

         81.    NOVA through Hartline further represented that the commencement of any legal

action by Plaintiffs would derail these fund raising efforts.

         82.    As a direct result of these representations, Plaintiffs waited to commence the

instant lawsuit against Defendants.

         83.    But for the above representations upon which Plaintiffs reasonably relied,

Plaintiffs would have promptly commenced the instant lawsuit in early 2010 when their demands

to have their shares repurchased were denied.

         84.    By mid-2010, despite the release of the Investors' money, NOVA was still

undercapitalized and came under the scrutiny of federal regulators.

         85.    NOVA's capital problems culminated in the execution of a Consent Order with

the Federal Deposit Insurance Corporation on May 7, 2010 and an agreement with the Federal

Reserve Bank of Philadelphia on July 19, 2010.

        86.     The value of the investment, which the Investors never intended to make in the

first place, plunged to a fraction of its value.




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                                          COUNT ONE
                 Violation of Section 10(b) of the Exchange Act and Rule 10b-5)
                      (Against NOVA, Hartline, Ballamor and Bekkedam)

      87.       The investors repeat and reallege the allegations in paragraphs 1 through 86 as if

fully set forth herein.

      88.       Hartline, acting on behalf of and at the insistence of NOVA, convinced the

Investors to purchase shares of NOVA common stock on the express condition that their

investment would be contingent on the DVFG merger closing.

      89.       The offering materials, however, were false and misleading because they did not

reflect this condition.

      90.       NOVA intended that the Investors rely, and the Investors did reasonably rely, on

each of Hartline's misrepresentations made on behalf of NOVA, and were damaged as a result.

      91.       Thereafter, Bekkedam, acting on behalf of and at the insistence of NOVA,

Hartline and Ballamor, convinced the Investors to consent to allow their money to be released

from escrow, by promising that he would personally repurchase the shares if the DVFG/NOVA

merger was not completed.

      92.       Bekkedam persuaded the Investors to release their money from escrow using oral

and written statements that he knew at the time were false.

      93.       Bekkedam failed and refused to honor the terms of his promise and never

seriously intended to honor it.

      94.       Bekkedam made these intentional misrepresentations to the Investors with the

express, implied and/or apparent authority of NOVA, and therefore, NOVA is bound by these

statements.




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      95.       Further, NOVA ratified the fraudulent acts of Bekkedam by accepting the benefits

of his false promises to the investors, namely, accepting the Investors' funds from escrow despite

the condition of the investment not being satisfied.

      96.       The law does not allow NOVA and Hartline to accept the benefits of the

fraudulent conduct that allowed them access to the Investors' funds, and at the same time, avoid

liability created by the misrepresentations that induced the investors to act.

      97.       The misrepresentations and omissions identified above were made in connection

with the sale of securities by NOVA to the Investors, and in so doing, NOVA, Hartline, Ballamor

and Bekkedam repeatedly employed the means and instrumentalities of interstate commerce and

communication.

      98.       Defendants NOVA, Hartline, Ballamor, and Bekkedam acted with scienter in

making the foregoing misrepresentations.

      99.      NOVA, Hartline, Ballamor and Bekkedam intended that the Investors rely, and

the Investors did reasonably rely, on each of the Bekkedam's misrepresentations made on behalf

of NOVA, Hartline and Ballamor, and were damaged as a result.

      100.     The misrepresentations caused NOVA to obtain the Investors' money despite the

condition of the investment not being satisfied.

      101.     Therefore, NOVA, Hartline, Ballamor and Bekkedam, in connection with the

purchase or sale of securities and in violation of Section 10(b) of the Exchange Act and Rule

1 Ob-5 thereunder:

               a)      employed a device, scheme, or artifice to defraud the investor;




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                  b)     made untrue statements of material fact, or omitted to state material facts

                         necessary in order to make the statements made, in the light of the

                         circumstances under which they were made, not misleading; and

                  c) engaged in acts, practices, or courses of business that operated or would

                         operate as a fraud or deceit upon the Investors, in connection with the

                         purchase or sale of a security.

          102. NOVA, Hartline, Ballamor and Bekkedam's misrepresentations and omissions, as

detailed above, were material.

      103.        All of the above acts were in violation of federal law and NOVA, Hartline,

Ballamor and Bekkedam are jointly and severally liable to the Investors for damages caused by

the violations.

          WHEREFORE, the Investors respectfully request this Court enter judgment in their favor

and against NOVA, Hartline, Ballamor and Bekkedam, jointly and severally, in an amount to be

determined plus interest, attorney fees, expenses of suit, and such other and further relief as this

Court deems just and proper.

                                          COUNT TWO
          Pennsylvania Securities Act of 1972 Part IV Section 1-401 Sales and Purchases
                      (Against NOVA, Hartline, Ballamor and Bekkedam)

          104.    The Investors repeat and reallege paragraphs 1 through 103 as if fully set forth

herein.

          105. NOVA, Hartline, Ballamor and Bekkedam, directly or indirectly, used or

employed, in connection with the purchase or sale of NOVA's securities, manipulative or

deceptive devices or contrivances, and made untrue statements of material fact and omitted to

state material facts necessary to make statements made, in light of the circumstances in which



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they were made, not misleading, and engaged in acts and practices that operate as a fraud and a

deceit, in contravention of Pennsylvania law.

         106. Without limitation, NOVA, Hartline, Ballamor and Bekkedam, as alleged above:

                a)       employed a device, scheme, or artifice to defraud;

                b)       made untrue statements of material fact and omitted to state material facts

                         necessary in order to make the statements made, in the light of the

                         circumstances under which they were made, not misleading, and

                c)       engaged in acts, practices, and courses of business that operated or would

                         operate as a fraud or deceit upon any person, in connection with the

                         purchase or sale of any security.

         107. NOVA, Hartline, Ballamor and Bekkedam's misrepresentations and omissions, as

detailed above, were material.

         108. The Investors' reasonably relied on those misrepresentations and omissions.

         109. The Investors were damaged by the conduct of NOVA, Hartline, Ballamor and

Bekkedam.

         110. Asa result of these violations, NOVA, Hartline, Ballamor and Bekkedam, and

each of them, are jointly and severally liable to the Investors pursuant to the Pennsylvania Act.

        WHEREFORE, the Investors respectfully request this Court enter judgment in their favor

and against NOVA, Hartline, Ballamor and Bekkedam, jointly and severally, in an amount to be

determined, plus interest, attorney fees, expenses, and such other and further relief as this Court

deems just and proper.




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                                       COUNT THREE
                 Control Person Liability Under Sec. 20(a) of the Exchange Act
                           (Against NOVA, Hartline and Ballamor)

       111.     The Investors repeat and reallege the allegations of paragraphs 1 through 110 as if

fully set forth herein.

       112.     NOVA, Hartline and Ballamor, at the time of the misrepresentations herein

alleged, were "persons" who, directly or indirectly, controlled Bekkedam who made primary

violations of Sections 10(b) of the Exchange Act and Rule 1 Ob-5 promulgated there under.

       113.     By virtue of their participation in and/or awareness of Bekkedam's actions and/or

intimate knowledge of the misrepresentations made to the Investors by Bekkedam, NOVA,

Hartline and Ballamor had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of Bekkedam, including the false and misleading

statements to the Investors designed to induce the Investors to release funds from escrow to

which NOVA otherwise had no right.

      114.      In particularly, each of NOVA, Hartline and Ballamor had direct and supervisory

involvement in the day-to-day operations of Bekkedam and, therefore, are presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same.

      115.      NOVA, Hartline and Ballamor were, in a meaningful sense, culpable participants

in Bekkedam's violations.

      116.      The culpable participation of NOVA, Hartline and Ballamor included, but was not

limited to, both individually and in concert with Bekkedam, misrepresenting that the Investors'

shares would be repurchased in the event the merger between NOVA and DVFG was not



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completed for the express purpose of allowing NOVA access to subscription payments held in

escrow to which it had no right.

       117.      By reason of the conduct alleged herein above, NOVA, Hartline and Ballamor are

liable for the conduct of Bekkedam under Section 20a of the Securities Exchange Act of 1934.

       118.      As a direct and proximate result of NOVA, Ballamor and Hartline's wrongful

conduct, the Investors suffered substantial damages.

          WHEREFORE, the Investors respectfully request this Court to enter judgment in their

favor and against NOVA, Ballamor and Hartline, jointly and severally in an amount to be

determined plus interest, expenses, and such other and further relief as this Court deems just and

proper.


                                    COUNT FOUR
   The Pennsylvania Unfair Trade Practices and Consumer Protection Law ("UTPCPL ")
                                (Against All Defendants)

      119.       The Investors repeat and reallege the allegations of paragraphs 1 through 118 as if

fully set forth herein.

      120.       THE UTPCPL provides that: "any person who purchases or leases goods or

services primarily for personal, family or household purposes and thereby suffers any

ascertainable loss ... as a result of the use or employment by any person of a method, act or

practice declared unlawful by section 3 of this act."

      121.       The Investors were purchasers of securities for personal purposes within the

meaning of 73 Pa. C.S.A. §§ 201-9.2.

      122.       Defendants used and employed unfair or deceptive acts or practices within the

meaning of the UTPCPL as described in detail above.




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       123.      Defendants' actions as set forth above constitute unfair or deceptive practices

under the UTPCPL, which unfair or deceptive acts or practices had the effect of creating

confusion and misunderstanding on the part of the Investors.

       124.      Defendants' actions as set forth above occurred in connection with the sale of

securities and are actionable under the UTPCPL.

       125.      Each defendant either directly and/or by their acquiescence in accepting the

benefits of their conduct committed unfair and deceptive acts and practices against the Investors.

       126.      As a result of defendants' conduct, the Investors sustained substantial damages

because the Investors were tricked into making an investment to which they never agreed or

wanted.

      127.       The Investors are entitled to an award of attorneys fees, penalties and treble

damages pursuant to 73 P.S. §201-9.2

        WHEREFORE, the Investors demand that judgment be entered in their favor and against

Defendants, jointly and severally, for compensatory damages, together with interest, penalties,

treble damages, costs of suit, counsel fees and such other relief as this Court deems just, proper

and equitable.

                                         COUNT FIVE
                                       Breach of Contract
                            (Against NOVA, Ballamor and Bekkedam)

          128. The Investors repeat and reallege the allegations of paragraphs 1 through 127 as if

fully set forth herein.

          129. Ballamor and Bekkedam entered into an oral contract to repurchase the Investors'

shares in NOVA at the meeting that took place at DVFG's offices on September 21, 2009.




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          130.   The oral contact was partially confirmed by Bekkedam's letter of September 24,

2009.

          131.   The contract was supported by adequate consideration because, upon information

and belief, Bekkedam benefitted financially as a result of the money being released to NOVA.

          132.   Bekkedam breached the contract by failing to repurchase the Investors' shares

despite demand.

          133.   NOVA and Bekkedam are liable for Bekkedam's breach of contract as Bekkedam

had the express, implied and/or apparent authority to act on behalf of NOVA and Ballamor.

          134.   Further, NOVA was fully informed of the promises and representations made by

Bekkedam that induced the Investors to release the funds from escrow.

          135.   NOVA did not object to Bekkedam's contract with the Investors. Rather, NOVA

knowingly acquiesced and accepted the benefits of the conduct of its stock promoter, Bekkedam.

In doing so, the law is clear that NOVA ratified the contract and is liable to the Investors for its

breach.

          136.   The Investors were damaged as a result of NOVA, Bekkedam and Ballamor's

breach.

                 WHEREFORE, the Investors respectfully request this Court to enter judgment

in their favor and against NOVA, Ballamor and Bekkedam, jointly and severally, in an amount to

be determined at trial plus interest, expenses, and such other and further relief as this Court

deems just and proper.




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                                          COUNT SIX
                (Breach of Subscription Agreements against NOVA and Keystone)

         137.    The Investors repeat and reallege the allegations of paragraphs 1 through 136 as

if fully set forth herein.

         138.    Nova and Keystone prepared and issued offering materials to each investor,

including a Private Placement Offering and subscription agreement.

         139.    The subscription agreements provided that the Investors' funds being held in

escrow by Keystone would be returned at the end of the offering period if the subscriptions were

not accepted by Nova and/or closings did not take place within five (5) days of the end of the

offering period of August 29, 2008.

         140.    Nova did not accept and/or close on the Shares within the time prescribed by the

subscription agreements.

         141.    Keystone was obligated under the subscription agreements to return the monies

held in escrow to the Investors, which was not done.

         142.    Keystone and NOVA were obligated under the Offering Materials to terminate

the offering, which was not done.

         143.    While the Offering Materials permitted Keystone and NOVA to extend the

August 29, 2008 termination date, this was never done.

         144.    Keystone and NOVA never advised the Investors that the offering period was

being extended; the Investors never signed any writing agreeing to any such extension; and

reconfirmation offers were never sent to the Investors.

         145.    Keystone and NOVA breached their respective obligations under the Offering

Materials by, among other things, not refunding the Investors subscriptions when the Shares did


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not close within five (5) days of the offering period, and by improperly extending the offering

period without notice to and/or the written consent of the Investors.

         146. After breaching the agreement, Nova acting through Hartline, sent a letter on

April 24, 2009 purporting to modify the Offering Materials by making the offering contingent on

the closing of the DVFG merger — the very condition NOVA used to fraudulently induce the

investors to subscribe in the first place.

         147. The purported modification was not agreed to in writing by the Investors as

required by the subscription agreements.

         148. NOVA also breached any modified agreement by accepting the funds from

escrow despite the failure of the DVFG merger to close.

         149. NOVA then sought to modify the modified agreement through its agent and stock
promoter, Bekkedam, by promising the Investors that Bekkedam would repurchase the Shares in

the event the merger with DVFG failed to close in exchange for the Investors agreeing to release

the funds from escrow.

         150. NOVA provided no new consideration to support this purported modified

agreement.

         151. Regardless, NOVA is bound by the actions of Bekkedam as the latter had express,

implied or apparent authority to act on behalf of NOVA. Alternatively, NOVA ratified

Bekkedam's promises by virtue of having accepted the benefits of those promises.

         152. NOVA breached this purported agreement when it and its agent Bekkedam

refused to repurchase the shares when the merger failed to gain regulatory approval.

         153. Keystone breached its responsibilities as escrow agent under the Offering

Materials by releasing the monies from escrow without the written consent of the Investors.


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      154.      The Investors have at all times complied with their contractual obligations under

the subscription agreements as well as any modification thereto.

      155.      As a direct and proximate result of the above contractual breaches, the Investors

have sustained damages in the amount of their respective subscription payments.

        WHEREFORE, the Investors respectfully request this Court to enter judgment in its favor

and against Defendants NOVA and Keystone, jointly and severally, in an amount to be

determined at trial, interest, expenses, and such other and further relief as this Court deems just

and proper.

                                        COUNT SEVEN
                            Violations of Rule 10b-9 and Rule 15c2-4
                            (Against NOVA, Keystone and Hartline)


      156.      The Investors repeat and reallege the allegations in paragraphs 1 through 155 as if

fully set forth herein.

      157.       The offering by NOVA and Keystone was done pursuant to Rule 501 of

Regulation D promulgated under the Securities Act of 1933.

      158.      The Offering was a contingent offering, and thus, is subject to the requirements of

Rule IOb-9 and Rule 15c2-4.

      159.      NOVA, Hartline and Keystone all knew or should have known that the offering

was conditioned on the completion of the DVFG merger.

      160.      Keystone accepted, deposited and held the Investors' subscriptions in escrow well

after the expiration of the offering period, knowing that the funds could not be released until the

condition of the investments had been satisfied.

      161.      The offering period terminated on August 29, 2008 pursuant to the clear terms of

the Offering Materials.


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       162.     The condition of the investment was not satisfied at the end of the offering period.

       163.     The offering was not extended in writing by Keystone or NOVA, nor were

reconfirmation offers sent to the Investors.

       164.     Instead, NOVA and Keystone continued the offering and the Investors'

subscriptions remained in escrow after the expiration of the offering period.

       165.    Keystone did not release the funds from escrow until after NOVA, acting through

its agent Bekkedam, fraudulently induced the Investors to release the funds based upon

guarantees that the shares would be repurchased in the event the merger did not close.

       166.    The foregoing facts establish that NOVA, Hartline and Keystone committed

fraudulent, deceptive, or manipulative acts or practices in violation of Rule l Ob-9 and Rule

15c2-4.

       167.    Specifically, NOVA, Hartline and Keystone individually and/or acting in concert

with each other, violated Rule l Ob-9 and 15c2-4 by, among other things:

               a)      failing to maintain the Investors' funds in an escrow account maintained at

                       an independent bank;

               b)      failing to transmit the funds to a bank which agreed in writing to hold all

                       such funds in escrow for the persons who have the beneficial interests

                       therein and to transmit or return such funds directly to the persons entitled

                       thereto when the appropriate event or contingency occurred;

               c)      failing to return the Investors' money at the end of the offering period

                       when the stated condition did not occur;

               c)      failing to terminate the offering when the stated condition did not occur by

                       the end of the offering period;


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                d)        failing to provide amendments to and/or supplementation of the Offering

                          Materials to the Investors concerning any extensions of the offering period

                          specifically or changes to the Offering Materials generally;

                e)        failing to provide reconfirmation offers to the Investors prior to the

                          expiration of the offering period so that the Investors could affirmatively

                          elect whether to continue their investment after the offering period

                          terminated or have their subscriptions returned; and

                f)        releasing the Investors' funds from escrow to NOVA without the

                          condition of the investment having been satisfied.

      168.      As a direct and proximate result of the above violations, the Investors sustained

substantial losses.

        WHEREFORE, the Investors respectfully request this Court to enter judgment in its favor

and against Defendants NOVA, Hartline and Keystone in an amount to be determined at trial,

punitive damages, interest, attorney fees, expenses, and such other and further relief as this Court

deems just and proper.

                                         COUNT EIGHT
                                 Unjust Enrichment Against NOVA

      169.      The Investors repeat and reallege the allegations in paragraphs 1 through 168 as if

fully set forth herein.

      170.      The Investors invested in NOVA on the express condition that the proposed

merger between NOVA and DVFG be completed.

      171.      NOVA knew and acknowledged that this was the only reason the Investors agreed

to execute the subscription agreement and to deliver the subscription payment to Keystone for

the purpose of holding those funds in escrow pending the completion of the merger.


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       172.    The Investors agreed to release the monies from escrow despite the non

occurrence of the condition based upon assurances and guarantees from NOVA's second largest

shareholder, and former Chairman in the presence of NOVA's current President and CEO, Brian

Hartline.

       173.    The merger never came to fruition and the assurances and promises given to the

Investors were not honored.

       174.    Thus, the Investors are shareholders of NOVA without the condition of their

investment ever having been satisfied.

       175.    NOVA gained access to and the benefit of the Investors' funds for which it knew

were only intended for use in the event of a successful merger between it and DVFG.

       176.    The Investors demanded a return of those funds when it learned that the merger

failed to gain regulatory approval.

      177.     NOVA has wrongfully refused to repurchase the shares from the Investors.

      178.      The retention of such monies under the circumstances described above

      would be unjust and inequitable.

        WHEREFORE, the Investors respectfully request this Court to enter judgment

in its favor and against Defendant NOVA in an amount to be determined at trial, interest,

expenses, and such other and further relief as this Court deems just and proper.




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                                       PRAYER FOR RELIEF

         Wherefore, the Investors pray from each Defendant, jointly and severally, as follows:

                          (a)    Damages in an amount of the Investors' subscription payments;

                         (b)     Recovery of all of the Investors' attorney's fees, expert witness

                         fees, costs and disbursements of suit;

                         (c)     Pre judgment and post judgment interest at the maximum rate

                         provided by law;

                         (d)     Exemplary damages from each Defendant;

                         (e)     Treble damages under the UTPCPL; and

                         (f)     Such other and further relief to which the Investors are deemed

                         entitled by the jury.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs hereby demand a

trial by jury of all issues.



                                            WHITE AND WILLIAMS LLP


                                            BY:       /s/ Justin E. Proper
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NOVA Financial Holdings, Inc. (NOVA) and Delaware Valley Financial Group Inc. (DVFG)
merger progress report.
April 17, 2009




Dear Potential Shareholders:

We would like to take this opportunity to provide an update on NOVA and the status of our merger
plans with DVFG. The companies signed a Definitive Agreement on March 6, 2009, in which NOVA will
acquire DVFG and DVFG will become an insurance and brokerage arm of NOVA.

NOVA has filed the necessary applications requesting regulatory approval of the merger transaction with
the State Banking Department and FDIC and based upon the application filing dates and the normal
regulatory approval time-frame, our expected closing date will be in the late second to early third
quarter of 2009.

In accordance with the Subscription Agreement signed by you as an investor, any funds delivered to
NOVA in connection with your potential share purchase are being and will continue to be held in an
interest bearing escrow account earning 1.0% until our merger closes.

In anticipation of our merger with DVFG, NOVA has signed an exclusive agreement with DVFG to provide
its insurance and broker dealer services to our clients, effective May 1, 2009, and we have terminated
our existing agreement with our current provider.

NOVA highlights:

NOVA was successful in raising approximately $14 million of common equity and $6 million of debt
securities during our 2008 capital raise, at a time when the financial industry was experiencing
difficulties

NOVA utilized the proceeds to complete two acquisitions; an Asset Based Lending Group and
Pennsylvania Business Bank, a $110 million, four branch community bank headquartered in Philadelphia
PA. The acquisition of the Asset Based Lending Group had a positive impact to earnings, and provided
NOVA with another product to offer its growing customer base. The Pennsylvania Business Bank
acquisition was a key strategic objective and allowed NOVA to continue to grow its franchise and expand
our operations into the State of New Jersey without the regulatory burdens and related costs.
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 Financial Highlights:

      • Total assets surpassed $650 million, increasing $155 million or 30.7% during 2008. The PBB
           acquisition contributed $110 million of total asset growth.
      • Total loans approximated $410 million, an increase of $138 million or 50.7% during 2008. The
          PBB acquisition contributed $86 million of the total loan growth.
      • Total deposits approximated $500 million, increasing $155 million or 45.1% during 2008. The
          PBB acquisition contributed $97 million of the total deposit growth.
      • NOVA was on pace to achieve positive earnings in excess of $500,000 for 2008. Unfortunately,
           as a result of the severe downturn in the economy that affected the financial industry
           worldwide, the Company was required to write down two loan relationships and one
           investment in the amount of $3.3 million. We also increased our loan loss provision to a level
          that management determined to be adequate for potential future loan losses.
     • During the first quarter of 2009, NOVA returned to positive earnings despite the continuing
         troubled economic environment. We are encouraged about our future and our profitability as
         many of our large bank competitors are facing significant difficulties, providing us with an
         excellent opportunity to continue to gain market share in the Philadelphia area.

In closing, we are so optimistic about our future that we have launched a 2009 capital raising campaign
to raise approximately $19 million of common equity capital. A portion of the proceeds will be used to
fund two acquisitions - DVFG and AFC First Financial, a niche finance company (energy lending) located
in Allentown, PA. The majority of the proceeds will be retained by the bank in anticipation of the
growth from the above acquisitions and our ability to gain market share in these current economic
conditions.

If you have any questions please feel free to contact us.


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Brian Hartline
President and CEO
NOVA Financial Holdings, Inc.
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The forgoing material may contain forward-looking statements. We caution that such statements may be subject to a number of
uncertainties and actual results could differ materially. Therefore readers should not place undue reliance on any forward-
looking statements. NOVA Financial Holdings, Inc. does not undertake, and specifically disclaims, any obligation to publicly
release the results of any revisions that may be made to any forward-looking statements to reflect the occurrence of anticipated
or unanticipated events or circumstances after the date of such statements.
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                                        CAPITAL .MANAGEMENT -

                                            .




  September 2a., 2009




  Dear Investors in the NOW iDVFG Transaction:
  We are -very emoited that progress is b eing made toward the anticipated closing of the Nova Dank and
  DVFG merger. As we have discussed previously, our timing Was delayed given the recent economic
  events and ensuing regulatory environment
 Although the precise timing is still subject to the regurlators, the bank has and is in process of liiI illing all
 of its capital requi anents ensuring a well capitalized. stains and providing it with the uncial strength to
 execute on our unified vision . Baliamor's clients and relationships infused $S million into the bank in
 Tune and have signed term sheets fermi additional $13 million. Nova was also granted TARP of $13.5
 million which is inexpensive capital we can utilize but will not hesitate to pay off should regulatory
 pressure associated with it become dam
                                      ' icult.

 We appreciate your continued interest and willingness to invest in the now term, which further enures
 probability of a closing sooner rather than later . Ballamor is tomrnitted as well, having assisted the bank
 in obtaining investments and commitment i of more than $40 minicar . Should the closing with DVFCX not
occur prior to 3131110, we will commit to seeking iaveStors who will replace your capital should you not
want-to remain an investor . Given the capital already ,invested and committed via 'l3allamor clients and
relationships
         ships and the bank's "well capitalized" titawoial condition, we do not anticipate this being a
 problem.

Both management teams have not wavered in iheir willingness and excitement about this transaction.

Once again thank you for your eon idence and we look forward to being back on track.




Barry R.. Idektkcdam
Chairman and CEO
BF.,8:wk




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                                 CERTIFICATE OF SERVICE

        I, Justin E. Proper, Esquire, hereby certify that on March 26, 2012, the foregoing First

Amended Complaint was filed electronically and is available for viewing and downloading from

the ECF System and was also served electronically upon the following counsel:

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                                                       /s/ Justin E. Proper
                                                      Justin E. Proper




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